Case 1: 05- -C\/- -01069- .]DT- STA Document 16 Filed 05/03/05 Page 1 of N<P)age|D 7

 

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FOR THE WESTERN DlSTRlCT OF TENNESSEE, EASTERN SJlSN ‘5:'0
t / <’
;y`/:`€;O;$` A/;$?:} _
WlLLIAM VADEN, VADEN FARMS, lNC., "q/:§:{)l/ /`

MARY LEE VADEN by W|LL|AM VADEN as /
POWER OF ATTORNEY and JERRY VADEN,

P|aintiffs,

V' NO. 1-05-1069 - TIAn
BETSY WADDELL,

UN|ON PLANTERS BANK, N.A.,

UN|ON PLANTERS lNSURANCE AGENCY, lNC.,
and FlREMAN’S FUND AGR|BUS|NESS, lNC.,

Defendants.

 

 

ORDER GRANT|NG MOT|ON FOR EXTENS|ON OF TlME TO MOVE, PLEAD
OR OTHERW|SE RESPOND TO THE COMPLA|NT

 

For good cause shown, the N|otion of the Defendants Betsy Wadde||, Union P|anters
Bank, N.A., and Union Pianters insurance Agency, inc.l for an extension to and including

May 30, 2005, to answer or otherwise plead to the Comp|aint is granted

<q.%/+J (@._) Qc§rff'

UN|TED STATES D|STRICT JUDGE OR
UNETED STATES |V|AG|STRATE JUDGE

|T iS SO ORDERED.

This document entered on the docket sheet in comme

with nme ss and.'or_rs (a) FRCP on M_ O

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CERTIF|CATE OF SERV|CE

The undersigned certifies that a true copy of this pleading or document was served
upon counsel for all parties by mailing postage prepaid or by deliveryto the person or office
of such counse|.

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/@M w%/¢

Thisthe 27 day oprril, 2005.

 

    
   

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
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Honorable .1 ames Todd
US DISTRICT COURT

